ILND 450 (Rev. Case:    1:16-cv-08067
               10/13) Judgment in a Civil Action Document   #: 148 Filed: 08/12/19 Page 1 of 1 PageID #:514

                                     IN THE UNITED STATES DISTRICT COURT
                                                   FOR THE
                                        NORTHERN DISTRICT OF ILLINOIS

    GLENDA SHORTER THOMAS,

    Plaintiff(s),
                                                                    Case No. 16 C 08067
    v.                                                              Judge Edmond E. Chang

    CITY OF CHICAGO,

    Defendant(s).

                                               JUDGMENT IN A CIVIL CASE

Judgment is hereby entered (check appropriate box):

                    in favor of plaintiff(s)
                    and against defendant(s)
                    in the amount of $       ,

                            which       includes       pre–judgment interest.
                                        does not include pre–judgment interest.

            Post-judgment interest accrues on that amount at the rate provided by law from the date of this judgment.

            Plaintiff(s) shall recover costs from defendant(s).


                    in favor of defendant(s)
                    and against plaintiff(s)
.
            Defendant(s) shall recover costs from plaintiff(s).


              other: Case dismissed with prejudice. Defendant City of Chicago to tender $34,000 settlement
payment to Plaintiff by 08/22/2019. Plaintiff deemed to have executed settlement agreement, resignation letter,
and waivers.

This action was (check one):

         tried by a jury with Judge     presiding, and the jury has rendered a verdict.
         tried by Judge     without a jury and the above decision was reached.
         decided by Judge Edmond E. Chang on a motion to



Date: 8/12/2019                                                 Thomas G. Bruton, Clerk of Court

                                                                s\Saandr Brooks, Deputy Clerk
